                                                    Exhibit A




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13-51914-amk   Doc 26-1   FILED 03/18/14   ENTERED 03/18/14 16:40:49   Page 3 of 24
                                                                             Exhibit B




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 Data For Parcel 33-097-00-00-002-010

   Valuation Data
    Parcel:        33-097-00-00-002-010

    Owner:         WIECHEC ANDREW S
    Address:       2925 WORK RD


                                              [+] Map this property.


   Current Valuation (Tax Year 2012 Payable 2013)
                              Appraised (100%)                         Assessed (35%)
    Land Value:                    $30,500.00                             $10,680.00
    Improvements
                                   $124,300.00                            $43,510.00
    Value:
    Total Value:                   $154,800.00                            $54,190.00
    Assessed CAUV
                                                          $0.00
    Value:


   Tentative Valuation (Tax Year 2012 Payable 2013)
               Appraised   Appraised  Appraised Assessed   Assessed   Assessed
      Date       Land    Improvements   Total     Land   Improvements   Total                       Reason
                 Value       Value      Value    Value       Value     Value
                                                                                                  Reappraisal,
                                                                                                   Update or
   2012/07/25 $30,500.00     $124,300.00    $154,800.00 $10,680.00      $43,510.00     $54,190.00
                                                                                                    Annual
                                                                                                  Equalization

                                          Report Discrepancy

GIS parcel shapefile last updated 12/4/2013 11:05:54 PM.
CAMA database last updated 12/5/2013 3:37:35 AM.




http://portagecountyauditor.org/Data.aspx?ParcelID=33-097-00-00-002-010
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